        Case
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     GREGORY & WALDO, LLC.
 1
     JENNIFER M. WALDO, ESQ.
 2   Nevada Bar No. 11900
     324 S. 3rd Street, Suite 1
 3   Las Vegas, Nevada 89101
     Telephone: (702) 830-7925
 4
     Facsimile: (702) 294-0231
 5   jmw@gregoryandwaldo.com
     Attorney for Defendant
 6   ANTOINE EVANS
 7                                UNITED STATES DISTRICT COURT
 8
                                          DISTRICT OF NEVADA
 9
                                                    )
10   UNITED STATES OF AMERICA,                      )
                Plaintiff,                          )
11                                                  )    CASE NO: 2:16-cr-00052-GMN-CWH
                                                    )
12                   vs.                            )    STIPULATION AND ORDER TO
                                                    )    CONTINUE DEADLINE TO FILE
13   ANTOINE EVANS,                                 )    OBJECTIONS TO PSR AND TO
                                                    )    CONTINUE SENTENCING HEARING
14                                                  )
                 Defendants.                        )
15   _____________________________________

16
17          IT IS HEREBY STIPULATED AND AGREED, by and between PHILLIP N. SMITH,

18   ESQ., Assistant United States District Attorney and JENNIFER M. WALDO, ESQ., counsel

19   for ANTOINE EVANS that Defendant Antoine Evans shall have up to and including January

20   11, 2018 to file Objections to the PSR. Additionally, the parties further agree to continue the

21   Sentencing Hearing in this matter, currently set for January 19, 2018 to a time convenient to

22   this court, but no earlier than 60 days.

23          This stipulation is entered into for the following reasons:

24
            1.      That on or about December 14, 2017, counsel received a copy of Mr. Evans’
25                  PSR;
26
            2.      That counsel requires a very brief period of additional time to address the
27                  objections and/or concerns raised by Mr. Evans regarding his PSR;

28          3.      That the Defendant Mr. Evans was also recently charged in State of Nevada v.
                    Evans, Case No.: 16F09904X

                                                     1
        Case
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            4.      That the Preliminary Hearing in the State matter is set for January 31, 2018;
 1
 2          5.      That undersigned counsel was recently appointed to represent Mr. Evans in his
                    State case as well;
 3
            6.      That the Defendant is seeking a continuance of his Sentencing date to allow
 4
                    additional time to address this new matter and possibly reach a global resolution
 5                  that will include his negotiations in the instant case as well;

 6          7.      That the additional time requested is for the purposes stated above and not
 7                  sought for the purposes of delay;

 8          8.      That denial of this request for continuance could result in a miscarriage of
                    justice;
 9
10          9.      That Mr. Evans is currently in custody and agrees to the continuance; and

11          10.     That this is the first request for an extension of time to file objections to the PSR
                    and to continue the Sentencing Hearing in this matter.
12
13          DATED 29th day of December, 2017.

14   /s/ Jennifer M. Waldo                                 /s/ Phillip N. Smith
     __________________________                            ________________________________
15   JENNIFER M. WALDO, ESQ.                               PHILLIP N. SMITH, ESQ.
16   Counsel for Defendant Antoine Evans                   Assistant United States Attorney

17
                                                  ORDER
18
19          IT IS HEREBY ORDERED that Defendant Evans shall have up to and including

20   January 11, 2018 to file objections to the PSR.
21          IT IS FURTHER ORDERED that Defendant Evans’ Sentencing Hearing, currently set
22
     for January 19, 2018 shall be vacated and continued to Thursday, March 22, 2018, at 10:30
23
     a.m. in Courtroom 7C.
24
25           DATED this _____
                         29   day of December, 2017.
26
27
                                                             ________________________________
28                                                              Gloria M. Navarro, Chief Judge
                                                             UNITED STATES DISTRICT COURT

                                                       2
